          Case 2:10-md-02179-CJB-DPC Document 5959-5 Filed 03/05/12 Page 1 of 2


AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                 for the

                                                     Eastern District of Louisiana


                  The Delaney Group, Inc.

                             Plaintiff

                                                                           Civil Action No. 2:12-cv-00248-CJB-SS
           BP Exploration and Production, Inc.

                            Defendant


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) HALLIBURTON ENERGY SERVICES INC
                                         THROUGH ITSAGENT FORSERVICF
                                         CT CORPORATION SYSTEM
                                         5615 CORPORATE BLVD STE 400B
                                         BATON ROUGE LA 70808




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:              Thomas C. Cowan
                                         Leah A. Taschek
                                         Cowan & Lemmon, L.L.P.
                                         650 Poydras Street, Suite 2315
                                         New Orleans, LA 70130



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT



Date:
                                                                                       Signature ofClerk or Deputy Clerk
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 Civil Action No. 2:12-cv-00248-CJB-SS


                                                           PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed R. Civ. P. 4 (I))

           This summons for (name ofindividual andtitle, ifany)
 was received by me on (date)


          D I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           D 1 left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           O I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                  on (date)                          ; or

           O I returned the summons unexecuted because                                                                             ; or

           •   Other (specify):




           My fees are $                           for travel and $                 for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                         Server's signature



                                                                                       Printed name and title




                                                                                          Server's address


 Additional information regarding attempted service, etc:
